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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

GILBERTO ALVAREZ,                        §
                                         §
             Plaintiff                   §
                                         §     Civil No. 6:16-cv-172-ADA
-v-                                      §
                                         §
                                         §
MARK ESPER, in his official capacity as §
Secretary of the Department of the Army, §
                                         §
             Defendant.                  §




PLAINTIFF’S PROPOSED VOIR DIRE QUESTIONS FOR PROSPECTIVE JURORS



TO THE HONORABLE UNITED STATES DISTRICT JUDGE

      NOW COMES Plaintiff Gilberto Alvarez and files his proposed voir dire

questions for prospective jurors:

                                General Questions

   1. Is anyone here familiar with or has had any type of interaction with any of the
      following:
          a. Mr. Gilberto Alvarez
          b. Mr. James Spell
          c. Col. Gregory Weaver
          d. Maj. Ivan Antosh
          e. Mr. Valentin Cruz
          f. Michael Perez
          g. Richard Perez
          h. Gayle Johnson
          i. Rex Thomas
          j. Donna Bowling
          k. Aretha Furman
          l. Lynn Smith

       If you are familiar or have had any type of interaction with one of these
       individuals, please describe the interaction or how you are familiar with
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    them.

2. Are you acquainted with any of the attorneys who are here?

3. Do you know anyone else on the jury panel?

4. Has anyone served as a juror before? What kind of case? Were you the
   foreman? Did the jury reach a verdict?

5. What is your favorite news source?

6. Does anyone hold religious, moral, or ethical beliefs that prevents them from
   sitting as a juror or in judgment of others?

7. What TV shows do you regularly watch?

8. Is anyone here either a veteran or currently serving (active or reserve) in the
   military?

9. Does anyone here hold the military or armed services in a negative light? Why?

                         Bias regarding the Army

10. Does anyone here know of someone who formerly served or currently serves in
    the military? Who? When? In what position? Why did they leave?

11. Has anyone heard of Fort Hood before? How do you know of it? What opinions
    do you hold of it or its members?

12. Have you, a family member, or a friend ever been employed by a branch of the
    armed services of the federal government? Who? When? In what position?
    Why did you/they leave?

13. Who believes the military is entitled to the benefit of the doubt regarding
    hiring, firing, and promotion decisions it makes?

14. Many people think that the decisions of the federal government and military
    should not be questioned. Who shares that belief?

15. Who would feel uncomfortable evaluating the motives the Army and Army
    personnel in making hiring, firing, and promotion decisions?

                           Personal Experience

16. Has anyone been sued? What were the allegations? How did that case get
    resolved?

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17. Has anyone filed a lawsuit? What were the allegations? How did that case get
    resolved?

18. Do you feel most lawsuits are frivolous?

19. Have you ever felt discriminated against in the workplace? What happened?
    What did you do? How did it get resolved?

20. Who here has been denied a promotion in the workplace? What happened? Do
    you think it was unfair?

21. Who here believes that discrimination is a thing of the past?

22. Who believes that retaliation for reporting discrimination is a thing of the past?

23. Who here believes that complaining of discrimination is an excuse people
    sometimes make? Why?

24. Do you believe that people who complain of discrimination are just covering up
    their own workplace short comings?

25. Are you a member of any organization that pertains to the justice system or to
    reform or modification of the justice system?

26. Many people believe that if you don’t like the policies, procedures, or
    environment at your place of work you should quit and find another job rather
    than complain about the situation. Who here shares that view? Why?

27. Is there anything in your own personal experience and knowledge that has not
    already been discussed in this process that would lead you to believe that you
    may not be the right juror for this case or this kind of case?

28. The judge is going to instruct you on the law regarding Title VII of the Civil
    Rights Act of 1964. Does anyone have first-hand experience or know someone
    with first-hand experience with Title VII? Please describe that experience.

29. Has anyone here worked in Human Resources for a company or agency? Did
    you receive special training? What kind of training?

30. Has anyone promoted or demoted an employee? If yes, for what reason? What
    factors did you consider before promoting/demoting the employee?

31. Has anyone made a complaint or report about workplace conditions? What was
    it about? Why did you make the complaint or report? What did you want to


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   happen? What actually happened? Is that what you expected? Why do you
   think that happened?

32. Has anyone been retaliated against by their employer or boss because of a
    complaint they made? What happened? Was that fair?

                          Bias regarding damages

33. The plaintiff in this case seeks damages for mental anguish, emotional distress,
    and other not easily quantifiable injuries. Many people do not believe money
    should be awarded for such things. Who shares that view?

34. Who thinks damages in a lawsuit should be limited in some way to prevent the
    plaintiff from getting too much money? In what way should it be limited? Is
    there a particular amount above which you would not go regardless of the
    evidence?

35. Many people believe that monetary awards against businesses and the
    government do more harm than good. Who shares that view?

            Bias regarding the Burden of proof in a civil case

36. The burden of proof in this case is a preponderance of the evidence. That
    means that a fact is proven if it is more likely right than wrong. Who thinks
    that burden of proof is too easy for a plaintiff?

37. Who would need to be convinced beyond a reasonable doubt in order to render a
    verdict?

38. Would you be able to reach a verdict if you were less than 100% sure of a fact?
    If so, what percentage of certainty would you need to find for the Plaintiff?

                 Bias regarding circumstantial evidence

39. The parties may prove facts by circumstantial evidence. That means, for
   example, testimony by a witness who observed a wet umbrella inside a room
   may be sufficient to prove that it was raining outside, even though there is no
   testimony that anyone actually looked outside to see whether it was raining.
   Another example would be testimony from a witness about seeing smoke may
   be sufficient to prove there was a fire. However, many people would be unable
   to make a decision without direct evidence or direct observation of a fact or
   event. Who shares that view? Would anyone here be unable to reach a verdict
   based only on circumstantial evidence?




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                   Bias regarding employees/ employers

40. Considering your own personal experience and knowledge, is there anything
    that you can identify that would cause you to start off on the side of an
    employer in an employment dispute, even just a little bit, before hearing any
    evidence in this case whatsoever? If yes, please explain?

41. Do you believe employers should be able to fire employees for whatever reason
    they see fit without second guessing from lawyers, courts, and juries?

                     Bias regarding retaliation claims

42. This case involves allegations of retaliation for reporting discrimination. Many
    people believe that retaliation and discrimination are a thing of the past. Who
    shares that view?

43. Many people believe that retaliation can only be shown by first showing
    discrimination. Who shares that view?




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